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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7        VLSI TECHNOLOGY LLC,                            Case No. 17-cv-05671-BLF
                                   8                    Plaintiff,
                                                                                            JUDGMENT
                                   9               v.

                                  10        INTEL CORPORATION,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13           Consistent with this Court’s order granting in part and denying in part VLSI Technology

                                  14   LLC (“VLSI”) and Intel Corporation’s (“Intel”) motions for summary judgment, see ECF Nos.

                                  15   772 & 778, this Court’s order granting VLSI’s motion to dismiss the license counterclaim, see

                                  16   ECF No. 903, and the parties’ dismissal of all other claims asserted in this action or finding by this

                                  17   Court of mootness of particular claims, see ECF Nos. 801 & 807, the Court hereby ENTERS

                                  18   judgment:

                                  19           In favor of Defendant Intel and against Plaintiff VLSI on the following claims:

                                  20           1. VLSI’s Fifth Count for Infringement of the U.S. Patent No. 8,004,922.

                                  21           2. VLSI’s Eighth Count for Infringement of the U.S. Patent No. 8,566,836.

                                  22           3. Intel’s Tenth Counterclaim for Invalidity of the U.S. Patent No. 8,004,922.

                                  23           In favor of Plaintiff VLSI and against Defendant Intel on the following claim:

                                  24           1. Intel’s Seventeenth Counterclaim for Declaratory Judgment that Intel is Licensed to

                                  25               VLSI’s Patents, without prejudice to refiling in the proper forum.

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                                   1          The Court further ENTERS a judgment of dismissal for all remaining claims and

                                   2   counterclaims. The Clerk of Court shall close the file in this matter.

                                   3          IT IS SO ORDERED.

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                                   5   Dated: March 29, 2024

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                                                                                        BETH LABSON FREEMAN
                                   7                                                    United States District Judge
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Northern District of California
 United States District Court




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